             Case 2:17-cr-00100-JAM Document 36 Filed 01/29/18 Page 1 of 2


 1 KYLE R. KNAPP
   Attorney at Law
 2 California State Bar  No. 166597
   916 2nd Street, 2nd Floor
 3 Sacramento, CA 95814
   Telephone:(916) 441-4717
 4

 5 Attorney for Gerald Luckey

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,              )   CASE NO.   17-CR-00100 - JAM
                                          )
11                          Plaintiff,    )
                                          )
12                                        )
     v.                                   )
13                                        )   STIPULATION AND ORDER TO
                                          )   CONTINUE JUDGEMENT AND SENTENCING
14 GERALD LUCKEY,                         )
                                          )
15                          Defendant.    )
                                          )
16 __________________________________     )

17

18         IT IS HEREBY STIPULATED by and between the parties hereto through their

19 respective counsel, Timothy Delgado, Assistant United States Attorney, attorney for

20 plaintiff; Kyle Knapp, attorney for defendant, GERALD LUCKEY, that the previously

21 scheduled sentencing date of January 30, 2018, be vacated and the matter set for

22 sentencing on February 13, 2018 at 9:15am.

23         This continuance is requested to allow counsel additional time to finalize

24 some objections to some of the information contained within the presentence report.

25 I have contacted Mr. Delgado, and Ms. Morehouse and they have no objection to the

26 continuance.

27         In light of the above request the following revised sentencing schedule is

28 requested - Judgement and Sentencing – February 13, 2018; Reply or Statement of Non
     Opposition to Motion to Correct PSR/Formal Objections due February 6, 2018; the
             Case 2:17-cr-00100-JAM Document 36 Filed 01/29/18 Page 2 of 2


 1
     final PSR has been filed.
 2
     Dated: January 26, 2018                 Respectfully submitted.
 3

 4                                                     /s/ Kyle R. Knapp
                                                   Kyle R. Knapp
 5                                                 Attorney for Defendant, Gerald
                                                   Luckey
 6
     Dated: January 26, 2018                                           Respectfully
 7                                                 submitted.

 8
                                                       /s/ Timothy Delgado
 9                                                 Timothy Delgado
                                                   Assistant U.S. Attorney
10                                                 Attorney for Plaintiff

11

12 IT IS SO ORDERED.

13

14 DATE:    January 26, 2018

15

16
                                                   /s/ JOHN A. MENDEZ
17                                                 HON. JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
18

19

20

21

22

23

24

25

26

27

28


     12-CR-00250-GEB
